       Case 5:19-cv-00089-LCB Document 21 Filed 02/04/19 Page 1 of 14                   FILED
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                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                      UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ALABAMA
                         NORTHEASTERN DIVISION
SIGMATECH, INC.,                         )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )   Case No.: 5:19-cv-0089-LCB
                                         )
UNITED STATES DEPARTMENT                 )
OF DEFENSE, et al.,                      )
                                         )
      Defendants.

                         MEMORANDUM OPINION

      On January 15, 2019, plaintiff Sigmatech, Inc., filed a Verified Petition for

Review of Agency Action (“Petition”)(doc. 1) against defendants the United States

Department of Defense; Patrick Shanahan, Acting Secretary of Defense; the United

States Army; and Mark Esper, Secretary of the Army (collectively, the “Agency”).

Sigmatech seeks review of the Agency’s actions allegedly designed to prevent (1)

Sigmatech from competing for the award of government contracts; and/or (2)

award of government contracts to Sigmatech.         According to Sigmatech, the

Agency’s actions constitute a de facto debarment.

                                     Background

      In its petition, Sigmatech explained that it holds a Blanket Purchase

Agreement (“BPA”) with the Agency that allows it to compete for various “task

orders” among other BPA holders. While the BPA itself is not a contract, the task
         Case 5:19-cv-00089-LCB Document 21 Filed 02/04/19 Page 2 of 14



orders issued under the BPA have the force of contract because they obligate both

parties. Sigmatech asserted that it has provided excellent services to the Agency

since being awarded the BPA, and that its success in performing various task

orders led the Agency to increase Sigmatech’s work.

       However, Sigmatech claims that its relationship with the Agency began to

deteriorate in 2015.       Since that time, it says, the Agency has taken actions to

prevent Sigmatech from competing for and/or obtaining new task orders.

According to Sigmatech, the Agency began to classify task orders for “small

businesses,” despite the increased size of the task orders, in order to prevent

Sigmatech, which is not classified as a small business, from being eligible to

compete. 1 For example, Sigmatech asserts that it was the incumbent contractor on

“Task Order 15” when the Agency issued a re-compete solicitation for further

work on the project. According to Sigmatech, the Agency issued that re-compete

as a small business set aside, thus preventing Sigmatech from competing for it.

       Sigmatech also points to its work on “Task Order 22,” which is set to expire

on April 26, 2019. According to Sigmatech, the Agency initially tried to set aside

the re-compete on that work for small businesses but was unable to find enough

small businesses to compete for the job.               Then, Sigmatech says, the Agency


1
  Sigmatech explains that it began performing work for the Agency as a small business and won
its initial task orders under that classification. However, once the Agency increased Sigmatech’s
workload, the company expanded such that it was no longer considered a “small business.”
                                                2
           Case 5:19-cv-00089-LCB Document 21 Filed 02/04/19 Page 3 of 14



attempted to prevent it from competing for the work by using a different

contracting vehicle in order to circumvent the BPA procurement process but was

again unable to find enough contractors to compete for the work.             Finally,

Sigmatech says, the Agency delayed the project until it was able to bring new

small businesses onto the BPA to bid for the work. Sigmatech claims that it will

lose this additional work because it will not have the opportunity to compete for it.

Sigmatech asserts that other similarly-situated contractors have been treated

differently by the Agency.

      The focal point of Sigmatech’s petition, however, appears to be “Task Order

18,” on which it is the incumbent contractor. Sigmatech alleges that the Agency

used the same tactics that it used in relation to the re-compete process on Task

Order 22 in order to prevent it from competing for the follow-on work to Task

Order 18. Specifically, Sigmatech alleges that the Agency improperly attempted to

set aside the work for small businesses and attempted to use a different contracting

vehicle.     When those tactics failed, Sigmatech says, the Agency unlawfully

awarded the procurement to a single small business. Sigmatech claims that after it

protested this action, the Agency reissued the re-compete for “full and open”

competition, thus allowing Sigmatech to compete for the work. However, the

Agency ultimately awarded the follow on to Task Order 18 to DigiFlight, Inc.

According to Sigmatech, the Agency’s decision to award the contract to DigiFlight


                                         3
       Case 5:19-cv-00089-LCB Document 21 Filed 02/04/19 Page 4 of 14



turned on DigiFlight’s proposal to use a subcontractor that owned proprietary

financial-management software. However, Sigmatech says, it recently learned that

DigiFlight did not renew the license for the financial-management software and did

not actually plan to use it. Therefore, Sigmatech argues that the Agency’s decision

to award the contract to DigiFlight was based on a “sham discriminator,” i.e., its

use of the financial-management software. According to Sigmatech, the decision

was arbitrary, capricious, and otherwise contrary to law.

                                   Procedural History

      Sigmatech challenged the Agency’s award of Task Order 18 to DigiFlight by

first filing a protest with the U.S. Government Accountability Office (“GAO”),

which was ultimately unsuccessful. (Doc. 8-1). Then, on September 18, 2018,

Sigmatech filed a bid-protest complaint in the United States Court of Federal

Claims (“CFC”), in which it challenged the Agency’s decision to award Task

Order 18 to DigiFlight as being irrational, arbitrary and capricious, an abuse of

discretion, and otherwise not in accordance with the law. (Doc. 8-2). The CFC

made extensive factual findings regarding the particulars of the Agency’s decision

and ultimately held that Sigmatech was not entitled to relief. Sigmatech v. United

States, ___ Fed. Cl. ___ (November 30, 2018), 2018 WL 6920166. Sigmatech

appealed the CFC’s decision to the United States Court of Appeals for the Federal




                                         4
        Case 5:19-cv-00089-LCB Document 21 Filed 02/04/19 Page 5 of 14



Circuit but moved to dismiss the appeal shortly after filing the instant petition in

this Court.

                                   The Present Petition

      Sigmatech filed the present petition on January 15, 2019. On January 16,

2019, Sigmatech filed an “Application to Stay Administrative Action Pending

Judicial Review” in which it asked this Court to stay the expiration of Task Order

18 along with “any other actions constituting a de facto debarment of Sigmatech.”

(Doc. 4, p. 1). On January 18, 2019, DigFlight filed a motion to intervene, which

this Court granted. On January 23, 2019, DigiFlight filed a motion to dismiss

pursuant to Rules 12(b)(1) and 12(b)(6), Fed. R. Civ. P., based on its assertion that

this Court lacked subject-matter jurisdiction over Sigmatech’s claim and that the

present action was precluded by principles of res judicata and collateral estoppel.

This Court conducted a hearing over two days in which it heard arguments from

the parties regarding the jurisdictional issue. For the reasons set forth below, this

Court finds that it lacks subject-matter jurisdiction over Sigmatech’s petition.

                                        Discussion

      When “a Rule 12(b)(1) motion is filed in conjunction with other Rule 12

motions, the court should consider the Rule 12(b)(1) jurisdictional attack before

addressing any attack on the merits.” Ramming v. United States, 281 F.3d 158,

161 (5th Cir. 2001) (citing Hitt v. City of Pasadena, 561 F.2d 606, 608 (5th


                                          5
          Case 5:19-cv-00089-LCB Document 21 Filed 02/04/19 Page 6 of 14



Cir.1977)); 2 Harris v. Bd. of Trustees Univ. of Ala., 846 F.Supp.2d 1223, 1230

(N.D.Ala.2012).       A motion under Federal Rule of Civil Procedure 12(b)(1) allows

a party to assert a defense of lack of subject-matter jurisdiction. A Rule 12(b)(1)

motion to dismiss should be granted “only if it appears certain that the plaintiff

cannot prove any set of facts in support of his claim that would entitle plaintiff to

relief.” Harris, 846 F.Supp. 2d at 1232 (quoting Ramming, 281 F.3d at 161). The

burden of proof on a motion to dismiss for lack of subject-matter jurisdiction is on

the party asserting jurisdiction (i.e., Plaintiff). Id. “A federal district court is under

a mandatory duty to dismiss a suit over which it has no jurisdiction.” Southeast

Bank, N.A. v. Gold Coast Graphics Grp. Partners, 149 F.R.D. 681, 683 (S.D.

Fla.1993) (citing Stanley v. Central Intelligence Agency, 639 F.2d 1146, 1157 (5th

Cir. 1991); Marshall v. Gibson's Prods., Inc. of Plano, 584 F. 2d 668, 671–72 (5th

Cir. 1978)).

         In its motion to dismiss, DigiFlight argues, among other things, that this

Court lacks subject-matter jurisdiction to decide Sigmatech’s petition. According

to DigiFlight, the Court of Federal Claims (“CFC”) has exclusive jurisdiction over

the present matter and is the only forum in which Sigmatech can bring such a

claim.      DigiFlight argues that the Administrative Disputes Resolution Act


2
 The Eleventh Circuit recognizes all of the Fifth Circuit decisions rendered prior to the close of
business on September 30, 1981, as binding precedent. Bonner v. City of Prichard, Ala., 661
F.2d 1206 (11th Cir. 1981)(en banc).
                                                 6
       Case 5:19-cv-00089-LCB Document 21 Filed 02/04/19 Page 7 of 14



(“ADRA”), Pub. L. No. 104-320, 110 Stat. 3870 (1996), vests jurisdiction of this

case solely in the CFC. In Vero Technical Support, Inc. v. U.S. Dept. of Defense,

437 Fed. Appx. 766, 768-69 (11th Cir. 2011), the Eleventh Circuit explained:

      The Administrative Dispute Resolution Act (“ADRA”), which
      amended the Tucker Act, “was enacted in 1996 in part to reorganize
      the jurisdiction of the federal courts over bid protests cases and other
      challenges to government contracts. Prior to the ADRA, the [COFC]
      and the federal district courts had enjoyed overlapping jurisdiction to
      hear these claims.” Labat–Anderson, Inc. v. United States, 346
      F.Supp.2d 145, 149 (D.D.C.2004). The ADRA streamlined this
      jurisdictional framework by creating “a transitional period during
      which the federal district courts and the [COFC] would enjoy
      concurrent jurisdiction over government contract cases.” Id. at 150.
      Specifically, the ADRA amendment to the Tucker Act provides:

            Both the Unite[d] States Court of Federal Claims and the
            district courts of the United States shall have jurisdiction
            to render judgment on an action by an interested party
            objecting to a solicitation by a Federal agency for bids or
            proposals for a proposed contract or to a proposed award
            or the award of a contract or any alleged violation of
            statute or regulation in connection with a procurement or
            a proposed procurement. Both the United States Court of
            Federal Claims and the district courts of the United States
            shall have jurisdiction to entertain such an action without
            regard to whether suit is instituted before or after the
            contract is awarded.

      28 U.S.C. § 1491(b)(1).

      The ADRA amendment also contains a sunset provision stating that
      the jurisdiction of the federal district courts over actions described in
      § 1491(b)(1) would expire on January 1, 2001, unless otherwise
      extended by Congress. Congress did not extend the deadline. As the
      Federal Circuit has explained, “[i]t is clear that Congress's intent in
      enacting the ADRA with the sunset provision was to vest a single
      judicial tribunal with exclusive jurisdiction to review government
                                         7
        Case 5:19-cv-00089-LCB Document 21 Filed 02/04/19 Page 8 of 14



      contract protest actions.” Emery Worldwide Airlines, Inc. v. United
      States, 264 F.3d 1071, 1079 (Fed. Cir. 2001). Accordingly, the COFC
      now enjoys exclusive jurisdiction over Tucker Act claims.

Thus, the CFC has exclusive jurisdiction to “render judgment on an action by an

interested party objecting to a solicitation by a federal agency for bids or proposals

for a proposed contract or to a proposed award or the award of a contract or any

alleged violation of statute or regulation in connection with a procurement or a

proposed procurement.” 28 U.S.C. 1491(b)(1).

             Sigmatech argues that its claim does not fall into the category of

claims for which the CFC has exclusive jurisdiction. Sigmatech asserts that their

claim before this Court is not a bid protest, which would be proper only in the

CFC, but rather a de facto debarment claim that this Court can review under the

Administrative Procedures Act (“APA”). Sigmatech contends that the Agency’s

actions in allegedly preventing it from competing for or receiving contracts, i.e.,

improperly setting aside jobs for small businesses, using different contract

vehicles, and reducing its existing work, were not protestable actions. Therefore,

Sigmatech says, it could not have brought those claims in the CFC. Rather, this

Court was the only venue in which it could obtain relief from the Agency’s alleged

de facto debarment.

             However, the ADRA’s scope is much wider than Sigmatech argues.

In Vero Tech., 437 F. App'x 768, the Eleventh Circuit held:


                                          8
       Case 5:19-cv-00089-LCB Document 21 Filed 02/04/19 Page 9 of 14



      The Administrative Procedure Act (“APA”) waives the
      sovereign immunity of the United States to the extent that it
      permits “[a] person suffering legal wrong because of agency
      action” to “seek[ ] relief other than money damages” in federal
      court. 5 U.S.C. § 702. The Act provides that a reviewing court
      shall, among other things, “hold unlawful and set aside agency
      action, findings, and conclusions found to be ... arbitrary,
      capricious, an abuse of discretion, or otherwise not in
      accordance with the law.” Id. § 706(2)(A). However, the Act
      also provides:

            Nothing herein (1) affects other limitations on
            judicial review or the power or duty of the court to
            dismiss any action or deny relief on any other
            appropriate legal or equitable ground; or (2)
            confers authority to grant relief if any other statute
            that grants consent to suit expressly or impliedly
            forbids the relief which is sought.

      Id. § 702. Because both the Tucker Act and the [Contract
      Disputes Act (“CDC”)] vest jurisdiction over certain disputes
      exclusively with the COFC, these statutes forbid relief that
      would otherwise be available under the APA, mainly the ability
      to resolve an APA claim that falls within the scope of the
      Tucker Act or the CDA in a federal district court.

The Eleventh Circuit then proceeded to determine whether the claim in Vero Tech.

fell within the scope of the ADRA amendment to the Tucker Act. This Court must

do the same with Sigmatech’s claim.

            As noted, the ADRA amendment to the Tucker Act, read along with

the sunset provision contained in the legislation, provides that the CFC has

exclusive jurisdiction to “render judgment on an action by an interested party

objecting to a solicitation by a Federal agency for bids or proposals for a proposed


                                         9
        Case 5:19-cv-00089-LCB Document 21 Filed 02/04/19 Page 10 of 14



contract or to a proposed award or the award of a contract or any alleged violation

of statute or regulation in connection with a procurement or a proposed

procurement.” 28 U.S.C. § 1491(b)(1)(emphasis added). In the present case, there

is no question that Sigmatech is challenging “a proposed award or the award of a

contract,” i.e., the follow on to Task Order 18, to DigiFlight. Even viewing this

case solely as a de facto debarment claim, it follows that Sigmatech believes it was

prevented from competing for work on other contracts and is challenging the

award of those contracts to other entities. Therefore, Sigmatech’s claim in the

present case falls within ambit of the ADRA.

        In its response to DigiFlight’s motion to dismiss, Sigmatech attempts to

distinguish the present claim by stating that, although it has challenged the award

of Task Order 18 to DigiFlight in the past, i.e., in the proceedings before the CFC,

the issues raised in that case are not the same as the issues raised in the present

case.         However, the fact that the issues raised in the present case may be

somewhat different from the issues raised before the CFC does not mean that the

issues raised in this case do not still constitute a challenge to “a proposed award or

the award of a contract.”    Even in the instances where Sigmatech points to other

alleged conduct by the Agency unrelated to DigiFlight and Task Order 18, that

action still involved the Agency’s award of a contract to another entity or the

Agency’s decision not to award the contract to Sigmatech. The de facto debarment


                                         10
       Case 5:19-cv-00089-LCB Document 21 Filed 02/04/19 Page 11 of 14



that Sigmatech alleges in the present case involves conduct that is related to the

award of or the proposed award of a procurement contract. Thus, the Agency’s

alleged actions fall within 28 U.S.C. § 1491(b)(1), and are therefore exclusively

within the jurisdiction of the CFC.

             Additionally, in Res. Conservation Grp., LLC v. United States, 597

F.3d 1238, 1246 (Fed. Cir. 2010), the Federal Circuit quoted the Conference

Report to the ADRA, which provides: “It is the intention of the Managers to give

the Court of Federal Claims exclusive jurisdiction over the full range of

procurement protest cases previously subject to review in the federal district courts

and the Court of Federal Claims.” In Vero Tech, supra, the Eleventh Circuit held:

      While the Tucker Act itself does not define the terms “procurement”
      or “proposed procurement,” the Federal Circuit has adopted the
      definition of procurement provided in 41 U.S.C. § 403(2). Distributed
      Solutions, Inc. v. United States, 539 F.3d 1340, 1345 (Fed. Cir. 2008).
      Section 403(2) provides that “’procurement’ includes all stages of the
      process of acquiring property or services, beginning with the process
      for determining a need for property or services and ending with
      contract completion and closeout.” 41 U.S.C. § 403(2).
Vero Tech.437 F. App'x at 769. Based on that definition of “procurement,” it is

clear that all of the Agency’s alleged improper activity regarding the various task

orders fell within the procurement process. Even the Agency’s decision to award

the contract to DigiFlight based on its use of certain financial-management

software – even if the decision was a sham – was nonetheless an action taken


                                         11
       Case 5:19-cv-00089-LCB Document 21 Filed 02/04/19 Page 12 of 14



within the procurement process. Thus, any challenge to those actions must be

brought in the CFC.

      To be sure, not every claim related to a government contract must be

brought in the CFC. For example, in Eco Tour Adventures, Inc. v. Jewell, 174 F.

Supp. 3d 319, 327-28 (D.D.C. 2016), the plaintiff brought an APA challenge in

district court to the government’s decision to grant a concessions contract to one of

its competitors. The district court denied the defendant’s motion to dismiss for

lack of subject-matter jurisdiction and held that the plaintiff’s claim was proper in

the district court because it was not a procurement-related claim.

             As noted above, Sigmatech repeatedly attempts to distinguish the

present claim from the claim it raised in the CFC by arguing that the present claim

is a de facto debarment claim, not a bid protest. Implicit in that assertion appears

to be an argument that only bid protest claims are allowed to be brought in the

CFC or that de facto debarment claims cannot be brought in the CFC. However, as

explained above, the ADRA is much more expansive. See Labat-Anderson, Inc. v.

United States, 346 F. Supp. 2d 145, 153 (D.D.C. 2004)(“When Congress elected to

overrule the Scanwell doctrine and vest jurisdiction over Scanwell-type cases in the

Court of Federal Claims as well, there is no reason to believe that it intended to

leave in the federal district courts the small subset of challenges to the procurement

process where there was no ‘bid protest.’ … Instead, the more persuasive result is
                                         12
        Case 5:19-cv-00089-LCB Document 21 Filed 02/04/19 Page 13 of 14



the one apparent on the face of the statute: All challenges to the award or proposed

award of government contracts, including challenges in connection with

government procurements, were to be consolidated in the Court of Federal

Claims.”).     Nothing prohibits de facto debarment claims like Sigmatech’s from

being brought in the CFC as long as they fit within 28 U.S.C. § 1491(b)(1).

               Sigmatech also highlights the fact that it only recently learned about

DigiFlight’s decision not to use the proprietary financial-management software that

the Agency cited as a reason it chose to award the contract to DigiFlight. 3

Therefore, it says, it could not have included that information in its case before the

CFC. While that may be true, this Court is not aware of anything that would have

prevented Sigmatech from filing a new petition or a post-trial motion in the CFC

raising that issue and its implications. However, this Court expresses no opinion

on the proper method for doing so. The bottom line is that the ADRA removed

jurisdiction to hear such claims from this Court and vested it exclusively in the

CFC.

       Based on the foregoing, this Court finds that it does not have subject-matter

jurisdiction over the claims brought by Sigmatech in its Petition for Review of

Agency Action.        Accordingly, DigiFlight’s motion to dismiss pursuant to Rule


3
  In its petition, Sigmatech asserts that it learned this information approximately one week before
it filed the present petition. (Doc. 1, p. 9).
                                                13
       Case 5:19-cv-00089-LCB Document 21 Filed 02/04/19 Page 14 of 14



12(b)(1), Fed. R. Civ. P., is due to be GRANTED, and Sigmatech’s petition

DISMISSED WITHOUT PREJUDICE.                       Because this Court finds that it lacks

subject-matter jurisdiction over this case, discussion of the res judicata and

collateral estoppel issues is pretermitted.

      DONE and ORDERED February 4, 2019.



                                      _________________________________
                                      LILES C. BURKE
                                      UNITED STATES DISTRICT JUDGE




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